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IN TH,E UNITED STATES DISTRICT COURT "`"'*~ D-C.
FOR TH'E WESTERN DISTRICT OF TENNESSEE

 

REGINALD CHARLES, )
) tacha
Piaintifr, ) D/Sr_ 37
) J""CKSGN
v. )
) CIVIL ACTION NO: 04-1255-T-An
THE PROCTER & GAM_BLE )
MANUFACTURING COMPANY, a )
corporation, )
)
Defendant. )
)

CONSENT PROTECTIVE ORDER

The Court finds that discovery in this ease will involve review of confidential employment
information regarding Plaintif`f Reginald Charles (“Plaintiff”), as well as proprietary, trade secret,
and sensitive business information and/or commercially private data of Procter & Gamble
Manufacturing Company its predecessors, successors, affiliates or assigns (collectively “Procter &
Gamble” or “Defendant”), and confidential files, data and/or information relating to third persons
not parties to this action including, but not limited to, those Who are present and/or former
employees of Procter & Gamble. Specifically, the Court finds that discovery will involve
documents relating to compensation and performance of current and former employees other than,
and including Plaintiff, and other information that is trade secret or otherwise commercially
sensitive and confidential The Court finds that Procter & Gamble has demonstrated that it could
be exposed to liability and Will suffer irreparable damage to relationships with and among its
employees, none of whom are parties to this action, if this information were to be disseminated
Additionally, the Court finds that the case does not involve a matter of public health or safety, nor

are there any class allegations, or other special eircumstances, that Weigh in favor of disclosure

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Thls document entered on the docket sheet In compliance

with Ru|e 58 and/or 79 (a) FRCP on __'$S`_iQ_L ©

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Therefore the Court finds that the balance of interests weighs in favor of granting this Consent
Protective Order. Accordingly, good cause having been shown within the meaning of Federal
Rule of Civil Procedure 26(c), and it appearing that the parties in this action consent to entry of
this Protective Order, IT IS HEREBY ORDERED THAT:

As used herein, the word “document” means: (a) all papers, documents, printed and written
materials produced or furnished by, or obtained by Plaintiff or Defendant; (b) all copies, extracts,
and complete or partial summaries prepared from such papers or documents; (c) portions of
deposition transcripts and exhibits thereto which relate to any such papers, documents, materials,
copies, extracts or summaries; (d) portions of briefs, memoranda or any other writings filed with
the Court, and exhibits thereto, which relate to any such papers, document copies, extracts or
summaries, but not (e) any materials which in the good faith judgment of counsel are work
product materials.

(l) All documents produced and information furnished by Plaintiff or Defendant which
are designated by the parties, in good faith, as “CONFIDENTIAL” shall be treated as such by all
parties to this litigation Such confidential documents, and all copies, summaries, compilations,
notes or abstracts thereof, shall be used exclusively in this action and for no other purpose.

(2) lf any confidential document is used during any deposition, the deposition or
relevant portions thereof (as designated by agreement of counsel) shall be treated as confidential in
accordance with paragraph (l), supra.

(3) Any document, information or deposition designated as “CONFIDENTIAL” under
this order shall, if filed With the Court, be clearly marked “CONFIDENTIAL,” sealed, placed in
separate, secure storage by the Clerk, and opened only by authorized Court personnel

(4) Documents, information and deposition testimony designated as

“CONFIDENTIAL” pursuant to the terms of this Order may be used only in connection with this

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case and may be disclosed only to counsel and employees and professional assistants of counsel
who have a need to review the information or contents of the documents to aid effectively in the
preparation of this case. Notwithstanding the foregoing, documents and information designated as
“CONFIDENTIAL” pursuant to this Order may be disclosed to Plaintiff, Defendant, and potential
Witnesses for Plaintiff or Defendant only on an as~needed basis if Plaintit`f’ s or Defendant’s
counsel, in good faith forms the belief that the witness needs to be privy to the
information/document and first informs Plaintiff, Defendant, or the witness of, and he or she
agrees to be bound by, the terms of this Protective Order. With the exception of expert witnesses,
no party or witness to whom confidential documents or information is disclosed shall be allowed
to possess, make, take, keep, retain, duplicate, or copy confidential documents or information of
the other party. Expert witnesses shall return all confidential documents or information to counsel
upon the conclusion of this litigationl Upon conclusion of this litigation, all confidential
documents supplied by a producing party, and all copies thereof (including without limitation,
copies provided to testifying or consulting experts or consultants) shall be returned to the
producing party, or at the producing party’s option, be destroyed by the receiving party. Counsel
and the party or parties to whom confidential documents or information were disclosed by the
opposing party will certify, in writing, that all confidential documents and information disclosed to
them has been returned or destroyed, as applicable, within 20 days of the conclusion of this
litigation

(5) Documents or information that were obtained from or are readily obtainable from a
source other than through formal or informal discovery from a party in this action cannot be
designated “CONF]I)ENTIAL” by a party to this action, unless such documents or information
are (a) medical or psychological records relating to Plaintiff; or (b) were obtained by any current

or former employee of Procter & Gamble (including Plaintiff) in the scope of their employment

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with Procter & Gamble, from Procter & Gamble or any of its employees, agents, or customers
The procedure for designating documents described in subsections (a) and (b) of this paragraph
shall be identical to the procedure set forth in paragraphs (1) and (8) of this Order.

(6) Prior to disclosure of documents or information designated as “CONFIDENTIAL”
pursuant to this Order to Plaintifi`, Defendant’s representatives and employees, or any potential
witness or expert for the party to whom confidential documents were produced, such individuals
shall execute a statement of confidentiality identical to Exhibit “A,” attached hereto. Counsel
shall maintain and be prepared to produce a copy of that statement to opposing counsel, upon
request if a violation of this Order is reasonably believed to have occurred

(7) The parties shall resolve any disputes concerning the designation of any documents
as “CONFIDENTIAL” as follows:

The non-designating party shall challenge any designation of confidentiality by notifying
the designating party in writing, specifically identifying the challenged item(s) as well as the basis
for the challenge If the parties cannot resolve the challenge after engaging in good-faith
discussions, the non-designating party shall seek an order of the Court with respect to the
challenged item designated as “CONFIDENTIAL.” Plaintiff and witnesses for Plaintiff will treat
all documents or information designated as “CONFIDENTIAL” and Defendant and witnesses for
Defendant will treat all documents or information designated as “CONFIDENTIAL” in
accordance with the requirements of this Order during the pendency of such motion. The parties
further agree that before seeking any relief from the Court under this paragraph, they will make a
good~faith effort to resolve any disputes concerning the confidential treatment of any information

(8) After the final termination of this litigation, all documents, transcripts or other
materials afforded “CONFIDENTIAL” treatment pursuant to this Order and in the possession of

counsel or experts for either party, including any extracts, summaries or compilations taken there

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from, but excluding any materials which in the good-faith judgment of counsel are work product
materials, shall be returned to opposing counsel within sixty (60) days following the final
resolution of this lawsuit.

(9) The provisions of this Order shall not affect the admissibility of evidence at trial,

summary judgment or any preliminary evidentiary proceeding in open court.

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m States District Judge

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EXHIBIT A

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STATEMENT OF CONFIbENTlALITY
By signing this document, I hereby certify that I have read the Consent Protective Order
entered by this Court in REGINALD CHARLES v. PROCTER & GAMBLE
MANUFA CTURING COMPANY, Civil Action No. 04-1255-T-An. I understand that

Order and agree to abide by its contents.

 

SIGNATURE

 

NAME (P_RINTED)

 

DATE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 1:04-CV-01255 was distributed by fax, mail, or direct printing on
May 10, 2005 to the parties listedl

 

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Honorable .l ames Todd
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